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    EXHIBIT 7
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                              October 25, 2023

· · · · · · · · ·UNITED STATES DISTRICT COURT

· · · · · · · · · DISTRICT OF MASSACHUSETTS

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· · ·SPARTA INSURANCE COMPANY (as· · · · )

· · ·successor in interest to Sparta )

· · ·Insurance Holdings, Inc.,· · · · · ·)

· · · · · · · · · · ·Plaintiff,· · · · · )Case No.

· · · · · · ·vs.· · · · · · · · · · · · ·)21-11205-FDS

· · ·PENNSYLVANIA GENERAL INSURANCE· · · )

· · ·COMPANY (now known as Pennsylvania· )

· · ·Insurance Company),· · · · · · · · ·)

· · · · · · · · · · ·Defendant.· · · · · )

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· · · · · · · · DEPOSITION OF JEFFREY SILVER

· · · · · · · · · · · · · ·VOLUME I

· · · · · · · · · · · ·WASHINGTON, D.C.

· · · · · · · · · · · ·OCTOBER 25, 2023

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· · ·REPORTED BY:· Tina Alfaro, RPR, CRR, RMR


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·1· · · · Q.· Any other reasons?

·2· · · · A.· No.

·3· · · · Q.· As of today PGIC is a New Mexico company,

·4· ·correct?

·5· · · · A.· Yes.

·6· · · · Q.· How many employees does PGIC have today?

·7· · · · A.· PGIC has no employees today.

·8· · · · Q.· Between 2012 and today how many PGIC --

·9· ·how many employees has PGIC had?

10· · · · A.· PGIC has had no employees between 2012 and

11· ·today.

12· · · · Q.· Does PGIC have its own office space today?

13· · · · · · MR. KAPLAN:· Objection to the form.

14· · · · · · MR. CLARK:· Agree.· Withdraw.· That's a

15· ·bad question.

16· · · · · · Does PGIC have office space today that it

17· ·uses exclusively for PGIC?

18· · · · A.· No.

19· · · · Q.· Does PGIC have any office space today?

20· · · · A.· Yes.

21· · · · Q.· And where is that office space?

22· · · · A.· It has office space in New Mexico and also


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·1· ·speaking with Mr. Menzies in connection with your

·2· ·preparation to testify as PGIC's Rule 30(b)(6)

·3· ·designee?

·4· · · · A.· Probably ten minutes.

·5· · · · Q.· Okay.· And when was that conversation?

·6· · · · A.· Probably two conversations of five minutes

·7· ·each, once when it was -- my deposition was

·8· ·originally scheduled and then again last week

·9· ·advising him that I was being deposed this week.

10· · · · Q.· Okay.· Were those two conversations held

11· ·on the telephone?

12· · · · A.· Yes.

13· · · · Q.· Okay.· Was a lawyer other than you present

14· ·during that telephone communication?

15· · · · A.· No.

16· · · · Q.· Please tell me everything Mr. Menzies said

17· ·to you during the first conversation.

18· · · · A.· He wanted to know how long I expected to

19· ·be deposed.· That was essentially what he was

20· ·asking me about.

21· · · · Q.· And what did you tell him?

22· · · · A.· I told him I was scheduled for at least


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·1· ·two days and maybe three days as the 30(b)(6)

·2· ·deponent.

·3· · · · Q.· Okay.· What did he say in response to

·4· ·that?

·5· · · · A.· Just do your best.

·6· · · · Q.· Helpful.

·7· · · · · · Have you told me everything that you and

·8· ·Mr. Menzies discussed during that first

·9· ·conversation?

10· · · · A.· Yes.

11· · · · Q.· Okay.· Please tell me everything that you

12· ·and Mr. Menzies discussed during the second

13· ·conversation.

14· · · · A.· Pretty much the same as the first

15· ·conversation in terms of letting him know exactly

16· ·what dates I was going to be here being deposed.

17· · · · Q.· Is it a fair characterization to say that

18· ·your two discussions with Mr. Menzies were about

19· ·process and logistics and not the substance of your

20· ·testimony?

21· · · · A.· That's a fair statement.

22· · · · Q.· Okay.· Did you speak with Mr. Menzies at


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·1· ·all on any topic of any substance to prepare for

·2· ·your testimony as PGIC's Rule 30(b)(6) designee?

·3· · · · A.· No.

·4· · · · Q.· Okay.· Did you speak with any former

·5· ·officers, directors, or employees of PGIC to

·6· ·prepare for your testimony as PGIC's Rule 30(b)(6)

·7· ·designee?

·8· · · · A.· No.

·9· · · · Q.· Okay.· Approximately how many documents

10· ·did you review to prepare to testify as PGIC's Rule

11· ·30(b)(6) designee?

12· · · · A.· They were numerous.· I can't give you an

13· ·approximation, but they were numerous as you can

14· ·see by the books that you've given me this

15· ·morning.

16· · · · Q.· And did you review more or less documents

17· ·than the five books of documents I gave you this

18· ·morning?

19· · · · A.· I think it would be a comparable number.

20· · · · Q.· Okay.· To prepare for your testimony today

21· ·did you speak with Michael Miller?

22· · · · A.· No.


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· · · · · · · · ·UNITED STATES DISTRICT COURT

· · · · · · · · · DISTRICT OF MASSACHUSETTS

· · ·----------------------------------- )

· · ·SPARTA INSURANCE COMPANY (as· · · · )

· · ·successor in interest to Sparta )

· · ·Insurance Holdings, Inc.,· · · · · ·)

· · · · · · · · · · ·Plaintiff,· · · · · )Case No.

· · · · · · ·vs.· · · · · · · · · · · · ·)21-11205-FDS

· · ·PENNSYLVANIA GENERAL INSURANCE· · · )

· · ·COMPANY (now know as Pennsylvania· ·)

· · ·Insurance Company),· · · · · · · · ·)

· · · · · · · · · · ·Defendant.· · · · · )

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· · · · · · · · DEPOSITION OF JEFFREY SILVER

· · · · · · · · · · · · · VOLUME II

· · · · · · · · · · · ·WASHINGTON, D.C.

· · · · · · · · · · · ·OCTOBER 26, 2023

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· · ·REPORTED BY:· Tina Alfaro, RPR, CRR, RMR


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                           October 26, 2023

·1· ·terms of time.

·2· · · · Q.· More than 50 hours?

·3· · · · A.· I can't quantify it.· Sometimes I talk to

·4· ·him often.· Sometimes I don't talk to him for some

·5· ·time.

·6· · · · Q.· How many employees does Mr. Menzies

·7· ·supervise?

·8· · · · A.· He is --

·9· · · · · · MR. KAPLAN:· I'm sorry.· Objection to the

10· ·form, scope.· Go ahead and answer in your

11· ·individual capacity.

12· · · · · · THE WITNESS:· He's the ultimate

13· ·controlling person of North American Casualty.

14· ·So -- and each of the insurance companies.

15· · · · Q.· Do you know how many direct reports

16· ·Mr. Menzies has at North American Casualty?

17· · · · · · MR. KAPLAN:· Objection to the form and

18· ·scope.

19· · · · A.· I do not know the answer to that question.

20· · · · Q.· Who would know?

21· · · · A.· Mr. Stafford probably would know.

22· · · · Q.· Does Mr. Menzies have any involvement in


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·1· ·the day-to-day operation of PGIC?

·2· · · · A.· You have to explain when you say

·3· ·"day-to-day operations."

·4· · · · Q.· What do you understand that phrase to mean

·5· ·as someone who works in the industry?

·6· · · · A.· It could mean various things.· It could

·7· ·mean daily involvement, weekly involvement, monthly

·8· ·involvement.· It could mean a whole host of the

·9· ·things.

10· · · · Q.· Let's use all of those.· So does

11· ·Mr. Menzies have any daily involvement in the

12· ·operation of PGIC?

13· · · · · · MR. KAPLAN:· Objection to the form.

14· · · · A.· It depends on the issue involved, the

15· ·nature of the issue involved as to whether or not

16· ·he spends a certain amount of time or not.· It's

17· ·probably issue driven.

18· · · · Q.· What are the types of issues that

19· ·Mr. Menzies has been involved with with respect to

20· ·the business of PGIC in 2023?

21· · · · · · MR. KAPLAN:· Objection to the form and

22· ·scope.· You can answer in your individual


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·1· ·capacity.

·2· · · · · · MR. CLARK:· I continue to accept that

·3· ·you're making the objection, but topic 22 squarely

·4· ·covers.· We can reserve for another time whether or

·5· ·not it's within the scope of the deposition.

·6· · · · · · You can answer, sir.

·7· · · · · · MR. KAPLAN:· But I have a standing

·8· ·objection on the line.· Okay.

·9· · · · A.· He would be involved in the AM Best rating

10· ·situation.

11· · · · Q.· The AM Best rating is an important issue

12· ·to Mr. Menzies, correct?

13· · · · · · MR. KAPLAN:· Objection to the form.

14· · · · A.· Yes.

15· · · · Q.· The AM Best is an important issue to Jeff

16· ·Silver, correct?

17· · · · A.· It is.

18· · · · Q.· Does Mr. Menzies have any involvement in

19· ·the handling of claims at PGIC?

20· · · · A.· No.

21· · · · · · MR. KAPLAN:· Objection to the form.

22· · · · Q.· Does California Insurance Company have any


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·1· ·employees today?

·2· · · · A.· No.

·3· · · · Q.· Does Continental Indemnity Company have

·4· ·any employees today?

·5· · · · A.· The same answer in terms of the management

·6· ·agreement process we've discussed before is equally

·7· ·applicable to California Insurance Company and

·8· ·Continental Indemnity Company.

·9· · · · Q.· Is your answer the same with respect to

10· ·Illinois Insurance Company and Texas Insurance

11· ·Company?

12· · · · A.· Yes, it would be.

13· · · · Q.· Was Steven Menzies involved in the

14· ·negotiation of the 2012 SPA we marked as Exhibit 6?

15· · · · A.· You have to explain "negotiation."              I

16· ·guess the answer would be he was aware of it, but

17· ·he did not participate directly in negotiations.

18· · · · Q.· Was Mr. Menzies involved in any internal

19· ·discussions regarding the 2012 SPA?

20· · · · · · MR. KAPLAN:· Objection to the form.

21· · · · A.· Yes.

22· · · · Q.· Can you please tell me the substance of


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·1· ·those internal discussions.

·2· · · · A.· He was involved in determining the

·3· ·purchase price.

·4· · · · Q.· Anything else?

·5· · · · A.· Not that I recall.

·6· · · · Q.· Did Mr. Menzies participate in the due

·7· ·diligence process in connection with the 2012

·8· ·transaction?

·9· · · · A.· No.

10· · · · Q.· Other than you, who else was involved with

11· ·the diligence process in connection with the 2012

12· ·transaction?

13· · · · A.· As I indicated yesterday in answer to that

14· ·question, there were folks from the accounting

15· ·department and the actuarial department that were

16· ·involved.

17· · · · Q.· Were there any other lawyers involved on

18· ·behalf of NAC in the diligence process in

19· ·connection with the 2012 transaction?

20· · · · · · MR. KAPLAN:· Asked and answered.· Go

21· ·ahead.

22· · · · A.· As I indicated yesterday, no.


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·1· · · · · · THE VIDEOGRAPHER:· Back on the record at

·2· ·4:06.

·3· ·BY MR. CLARK:

·4· · · · Q.· Mr. Silver, you conferred with your

·5· ·counsel off the record on an issue of privilege.

·6· ·Let me withdraw my last question and I'll ask it

·7· ·this way.

·8· · · · · · Did Mr. Menzies make the decision that

·9· ·PGIC would not pay AEIC claims?

10· · · · A.· No.

11· · · · Q.· Okay.· Who made the decision that PGIC

12· ·would not pay AEIC claims?

13· · · · A.· I did.

14· · · · Q.· Does Mr. Menzies agree with the decision

15· ·that PGIC would not pay AEIC claims?

16· · · · · · MR. KAPLAN:· And Mr. Silver, I'm allowing

17· ·him to answer that question subject to what I

18· ·understand to be a stipulation that answering that

19· ·question is not a subject matter waiver.

20· · · · · · MR. CLARK:· Agreed.

21· · · · A.· Yes.

22· · · · Q.· Has Mr. Menzies been involved in any


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·1· · · · Q.· Do the NAC insurance companies use the

·2· ·same accounting system?

·3· · · · · · MR. KAPLAN:· Objection to form.

·4· · · · A.· I don't know.· I believe the answer is

·5· ·yes.

·6· · · · Q.· Okay.· Did Mr. Menzies approve the

·7· ·decision to buy PGIC?

·8· · · · A.· Yes.

·9· · · · Q.· And did Mr. Menzies approve the 2012 SPA

10· ·that we marked as Exhibit 6?

11· · · · · · MR. KAPLAN:· Objection to the form.

12· · · · A.· I don't know if he approved it.· He signed

13· ·it.

14· · · · Q.· Switching topics.

15· · · · · · Did PGIC distribute a legal hold notice in

16· ·connection with this lawsuit?

17· · · · A.· I believe we did.

18· · · · Q.· Okay.· And when was that legal hold first

19· ·issued?

20· · · · A.· I don't recall.

21· · · · Q.· Has the document been produced in this

22· ·litigation such that we could share it with you and


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